      ~oJS44 (ResCase
                  12/07) 3:21-cv-00030-GMG-RWT                                      CIVIL COVER
                                                                                     Document     SHEET
                                                                                              1-2 Filed 02/23/21 Page 1 of 1 PageID #: 8
     The JS 44 civil cover sheet and the inlhrmation contained hereIn neither replace nor supplement the tiling and service ofpleadings or other papers as required by law, except as provided
     by local rules ofcouit. This lUrm, approved bs’ the Judicial Conference ofthe United States in September 1974. is required for the use ofthe Clerk ofCourt thrthe purpose of initiating
     the civil docket sheet. (SF/I INSTRUCTIONS ON THE REVERSE OF THE FORM.)

     I. (a) PLAINTIFFS                                                                                                         EFENDANTS

            ~                                                                                                        1’
           (b)    County of Residence of First Listed Plaintiff~L(~i~                                       ~                County of Residence of First Listed Defendant
                                   (IXCEPT IN U.S PLAINTIFF C SLS)                                                                                   (IN U S. PLAINTIFF CASL~ ONLY)
                                                                                                                                    NO FE      IN LAND CONDEMNATION CASES, USE ‘11111 LOCATION OF TIlE

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     II. BASIS OF JURISDICTION                            (Place an “X” in One Box Only)                    III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an ~X’ in Oite Box for Plainiiff
                                                                                                                          (For Divemsiiy Cases Only)                                                awl One l3ox for Defendant)
     0 1     U.S Gosernineni                      Federal Qnesiion                                                                                   PTF           DEE                                              PTF      DEE
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                Defendant                                         ....,.                                                                                                        of l3nsiness In Aaoiher Siaie
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                                                                                                                  Citizen or Sub)cct of a            9 3           0    3   Foreign Nation                           9   6      9 6
                                                                                                        i           Foreign Coiiniry
     IV. NATURE OF SUiT (Place an “X’ in One Box Only)
 I               CONTRACT                                                 TORTS                               I     FORFEITURE/pENAJ,’J’y               —              BANKRUPTCY                         OTIIER5TATUTES~
  0 110 lnsuiance                       I’ERSONAL INJURY                       PERSONAL INJURY                0 610 Agriesllnre                         9 422 Appeal 28 tJSC 158                0 400 State Reapporiionnieni
 0 20 Marine                          0 310 Asplane                         0 362 Personal I spay -           0 620 Oilier Food & Dnig                  0 423 Withdrawal                        0 410 Antitrust
 0 130 Miller Aet                     0 315 Airplane Prodnci                        Mccl. Malpraciice         0 625 Drug Relalecl Seizure                     28 USC 157                        0 430 Banks and t3ankiag
 0 14(1 Negoiiable Insiniment                  l,iabiliiy                   9 365 Personal Injury                    of Property 2 I IJSC 881                                                   9 $51) Commerce
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         Student Loans                0 340 Marine                           PERSONAL PROPERTY                        Safely/I Ieallh                                                          0 1911 Cable/Sat IV
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         of Veteran’s Benefits        9 350 Motor Vehicle                   9 380 Oilier Personal             0 7 10 Fair Labor Siandards              9 $61 I IlA I 1395t’fl                          Excltange
 0 16(1 Stockholders’ Sails           0 355 Motor Vehicle                          Property Damage                   Act                               0 $62 Black Lung (923)                  0 875 Cnstonier Challenge
.~l90 Other Coniract                          Prodnct Liability             0 385 Properly Damage             0 720 Lahor/Mgnit. Relaiions             0 $63 DIWC/DIWW ($OS(g))                          2 USC 3410
 0 195 Contract Prodnel Liability 9 360 OIlier Personal                            Pmdnct Liability           0 730 I.abom’/Mgnii Reportntg            0 864 SM D ‘l’iile XVI                  0 $90 Other Slatnloiy Actions
 0 96 F/raacluse                              Intnmv                                                                & Disclosure Act                   0 865 RSI (4O5(g))                      9 $91 Agrienltimmal Ads
L_      REAL PROPERTY                      CIVIL RIGHTS                      PRISONER PETITIONS               0 740 Railway Labor Ad                     FEDERAL TAX SUITS                     9 892 Lconomnmc Stabilization Ad
 0 21(1 Land Condemnation             9 ‘1$ I Voti n~                       0 5 10 Motions to Vacate          0 790 OIlier Labor L.itigai ion          0 870 Taxes (U.S. Plainiiff             9 $93 I/itvi rolniieitlal Matters
 0 2211 Foi eclosmmme                9 142 Eniploynieni                            Sealence                   0 791 Unipl. Eel. Inc.                          or Defendant)                    0 894 Eneigs’ Allocation Ad
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 0 241) ‘I orts to Land                      Accommodations                 0 530 General                                                                    26 USC 7609                              Act
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 0 290 /\II Other Real Properts      .9 145 Amer. sv/Disabilitmes -         0 5411 Mandantus & Other          9 462 Naluralizalion Application                                                        Under bqual Access
                                             Eniploymemtt                   0 550 Civil Rights                0 463 I habeas Corpus —                                                                  di Justice
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                                             Oilier                                                           0 465 Other Imumnmm gratmon                                                             State Statutes
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V. OR I G I N                   I Place ni “X” in One Bo\ Only)                                                                                 ,,             -                                                 APpcid 10 District
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           Proceeding               State Court                            Appellate Cottrt                   Reopened                         aflot tic! c strict                Litigation                     ~tstrtt~

                                              ~ tu’~~ ~ ~ diversity):
VI. CAUSE OF ACTION                           Brief description of ettuse:


VII. REQUESTED IN     D Cl lUCK IF ‘l’I’IIS IS A CLASS ACTION                                                      DEMANI)                                             Cl lUCK YI./S only ifdemand~h1n ctimplairit’
     COMPLAINT:          UNDER F.R.C.P. 23                                                                                                                             JURY DE.’~IAND:               ~es            9 Nt,
VIII. RELATED CASE(S)
      I F ANY          )See nmsti’uetions). JUDGE                                                                                                            DOCKI/1’ NUMBER
DATE                                                                           SICNs\’flDE f)F~ Al”FORNI/Y OF RECORD


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